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                                 132708



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 In Re: COOK MEDICAL, INC., IVC               )
 FILTER MARKETING, SALES                      ) 1:14-ml-02570-RLY-TAB
 PRACTICES AND PRODUCT                        ) MDL No. 2570
 LIABILITY LITIGATION                         )
                                              )
                                              )
 This Document Relates to:                    )

1:21-cv-02209; 1:21-cv-02290; 1:21-cv-02463; 1:21-cv-02468; 1:21-cv-02513
1:21-cv-02530; 1:21-cv-02538; 1:21-cv-02557; 1:21-cv-06432

   [AMENDED PROPOSED] ORDER ON THE COOK DEFENDANTS’ NOTICE OF
  NONCOMPLIANCE PURSUANT TO FOURTH AMENDED CASE MANAGEMENT
  ORDER NO. 4: PARTY PROFILE, FACT SHEET AND CASE CATEGORIZATION
                        PROTOCOL (Dkt. 20467)

       Pursuant to Federal Rule of Civil Procedure 41(b), Federal Rule of Civil Procedure 37, and

Fourth Amended Case Management Order No. 4, the following cases are Dismissed for lack of

service of a Plaintiff Profile Sheet (PPS):



                      Plaintiff                           Cause Number
                      Yadon, Karen                       1:21-cv-02290

                      Bray, Dawn                         1:21-cv-02513



The following case is Dismissed for lack of service of a Case Categorization Form (CCF):


                      Plaintiff                           Cause Number

                      Wheatley, Kristi R.                1:21-cv-06432




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Cook’s Notice of Noncompliance is MOOT as to the following cases:


                     Plaintiff                             Cause Number

                     Edmonds, Terrance                     1:21-cv-02209

                     Wilson, Derrick                       1:21-cv-02463

                     Saucedo, Kent                         1:21-cv-02468

                     Whitehead, Donovan                    1:21-cv-02530

                     Davenport, Shelia                     1:21-cv-02538

                     Thomas, Vendette                      1:21-cv-02557



All parties shall bear their own fees and costs.


SO ORDERED this ____day of ______________ 2022.

                                                       _________________________________
                                                       RICHARD L. YOUNG, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana

Distribution to all electronically registered counsel of record via CM/ECF.




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